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                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON

UNITED STATES OF AMERICA,
                                               Case No. 3:19-cr-00596-SI-1
                    Plaintiff,
                                               NOTICE OF CHANGE OF
             v.                                ADDRESS FOR DEFENSE COUNSEL

RICHARD STEVEN ALBERTS, II,

                    Defendant.

       PLEASE TAKE NOTICE that defense counsel’s mailing address has changed to the

following:

                    12833 SE Sprout Ln.
                    Portland, OR 97222

       RESPECTFULLY SUBMITTED this 8th day of July, 2020.


                                               s/Stephen J. Doyle
                                               STEPHEN J. DOYLE, OSB No. 822428
                                               Attorney for Defendant




1 – NOTICE OF CHANGE OF ADDRESS FOR DEFENSE COUNSEL
